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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

   IN RE: ZANTAC (RANITIDINE)                                                   MDL NO 2924
   PRODUCTS LIABILITY                                                            20-MD-2924
   LITIGATION
                                                        JUDGE ROBIN L ROSENBERG
                                                MAGISTRATE JUDGE BRUCE REINHART
   __________________________________/

   THIS DOCUMENT RELATES TO: ALL CASES

                   AGREED ORDER GRANTING CORRECTED
             UNOPPOSED MOTION TO DROP WINN DIXIE STORES, INC.
           FROM CONSOLIDATED CONSUMER CLASS ACTION COMPLAINT

          THIS CAUSE came before the Court on Plaintiffs’ Co-Lead Counsel’s Corrected

   Unopposed Motion to Drop Winn Dixie Stores, Inc. from the Consolidated Consumer Class Action

   Complaint [DE # 2429], without prejudice, pursuant to Pretrial Order # 40 [DE # 1498] and the

   Federal Rule of Civil Procedure 21. Having reviewed the Unopposed Motion, and being otherwise

   fully advised in the premises, it is hereby ORDERED and ADJUDGED that the Corrected

   Unopposed Motion is GRANTED. Defendant Winn Dixie Stores, Inc. is dropped, without

   prejudice, from the Consolidated Consumer Class Action Complaint [DE # 889] at ¶ 413.

          DONE and ORDERED in Chambers, West Palm Beach, Florida, this 21st day of

   December, 2020.


                                             ROBIN L. ROSENBERG
                                             UNITED STATES DISTRICT JUDGE
